          Case 1:21-cr-00678-BAH Document 46 Filed 04/21/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           )
                                                    )
                       v.                           )         CASE NOS: 21-CR-678 BAH
                                                    )
GREGORY LAMAR NIX.,                                 )
                                                    )
               Defendant.                           )
                                                    )


                            RENEWED MOTION TO WITHDRAW

       COMES NOW, Counsel for Defendant, Lindsey L. Davis, and files this Renewed Motion
to Withdraw as Counsel for the Defendant. As grounds therefore, Counsel for Defendant
respectfully states the following:
       1. The Defendant retained the services of Alabama Divorce & Criminal Lawyers, LLC
           for representation in the above referenced case.
       2. Undersigned Counsel is no longer employed by Alabama Divorce & Criminal Lawyers,
           LLC and has not been since February 17, 2023.
       3. Counsel for Defendant has begun new employment and is no longer practicing criminal
           law. Continued representation in this matter poses a conflict with Counsel’s
           employment and the same was communicated to the Defendant.
       4. Pursuant to the District of Columbia Rules of Professional Conduct and District of
           Columbia Bar Association Ethics Opinion 273, notice was provided to the Defendant
           regarding Counsel’s departure and the Defendant has elected to remain with Alabama
           Divorce & Criminal Lawyers, LLC for representation in this matter. The Defendant has
           communicated his termination of representation with undersigned Counsel by
           indicating his intent to remain with Alabama Divorce & Criminal Lawyers, LLC in
           light of Counsel’s departure from the firm.
       5. Undersigned Counsel has communicated her filing of this Motion to Withdraw with
           the Defendant. The Defendant is aware of, and consents to, undersigned Counsel’s
           withdrawal from this matter.
  Case 1:21-cr-00678-BAH Document 46 Filed 04/21/23 Page 2 of 3




6. It was represented to Counsel that additional counsel would be making a Pro Hac Vice
   Application for Admission and subsequent Notice of Appearance in this matter. No
   such application has been made to date, despite these representations being made to
   Counsel for Defendant prior to her providing notice of departure from her employment
   on February 2, 2023. Additional Counsel’s delay is of no fault of undersigned Counsel.
   Undersigned Counsel should not be forced to remain as counsel for Defendant against
   Defendant’s wishes and at undersigned Counsel’s personal financial and professional
   expense due to additional counsel’s delay.
7. It was represented to undersigned counsel that local counsel has contracted with
   Alabama Divorce & Criminal Lawyers regarding representation in this matter.
   Undersigned counsel believes that this poses a conflict between local counsel and
   undersigned counsel regarding their opposing interests.
8. Additional Counsel from Alabama Divorce & Criminal Lawyers, LLC and local
   counsel is aware of upcoming deadlines and the currently scheduled Sentencing date
   of June 2, 2023.
9. Undersigned counsel’s continued representation would require undersigned to expend
   personal funds to represent the Defendant and for travel in this matter, of which
   severely prejudices undersigned counsel. Undersigned Counsel’s continued
   representation will result in an unreasonable financial burden on undersigned as she is
   not retained and has been discharged by the Defendant. This matter requires significant
   time and attention, coupled with travel outside of undersigned Counsel’s home
   jurisdiction.
10. Counsel for Defendant has not had access to the Defendant’s case file since her
   employment with Alabama Divorce & Criminal Lawyers, LLC ended in February.
   Alabama Divorce & Criminal Lawyers, LLC retained the client file as they were
   retained for representation both before and after undersigned’s Notice of Appearance
   in this matter and due to undersigned’s employment ending, she has not had access
   since February 17, 2023.
11. Counsel’s only contact with the Defendant since her employment ended was to verify
   that the Defendant was moving forward with other counsel. Defendant verified the
   same and undersigned Counsel has not had contact with the Defendant since.
          Case 1:21-cr-00678-BAH Document 46 Filed 04/21/23 Page 3 of 3




       12. Counsel’s continued representation of the Defendant is prejudicial to the Defendant in
           that she does not have access to the client’s file, nor does she have contact with the
           Defendant.
       13. It is within the best interests of the parties, that counsel be withdrawn from this matter.


                                              /s/ Lindsey Davis _________
                                              LINDSEY DAVIS
                                              Formerly of:
                                              Alabama Divorce & Criminal Lawyers, LLC
                                              13521 Old Highway 280, Suite 141
                                              Birmingham, AL 35242
                                              (205) 981-2450


                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2023 I electronically filed the foregoing with the Clerk
of Court using CM/ECF. I also certify that the foregoing document is being served this day on all
counsel of record identified on the attached service list in the manner specified, either via
transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
manner for those counsel or parties who are not authorized to receive electronically Notice of
Electronic filing.

                                              /s/ Lindsey Davis _________
                                              LINDSEY DAVIS
                                              Formerly of:
                                              Alabama Divorce & Criminal Lawyers, LLC
                                              13521 Old Highway 280, Suite 141
                                              Birmingham, AL 35242
                                              (205) 981-2450
